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                              DECLARATION OF KENDRA WALKER


STATE OF TEXAS                        §
                                      §
COUNTY OF HARRIS                      §


    1) “My name is Kendra Walker. I am a current resident of Harris County, Texas. I am over
       eighteen (18) years of age and am competent and authorized to make this Declaration. I
       have never been convicted of a crime involving moral turpitude. I have personal
       knowledge of the facts stated herein, which are true, correct, and within my personal
       knowledge.

    2) “I am the President of Pride Houston, Inc. (“Pride Houston”), a Texas non-profit
       corporation that annually organizes the official Houston LGBT Pride Celebration which
       includes the Houston Pride Festival and Houston Pride Parade. Pride Houston, Inc. has
       served the Houston LGBT community for forty-six (46) years.

    3) “Pride Houston’s services include the planning, marketing, and facilitation of social events
       such as festivals, parades, fashion shows, night-life events, and community engagement
       events (collectively, hereinafter “Plaintiff’s Pride Events”) specifically catered to
       individuals residing within and outside of Houston, Texas, who identify as lesbian, gay,
       bisexual, transgender, queer, intersex, asexual, and/or otherwise non-heterosexual and/or
       non-gender conforming (collectively, hereinafter the “LGBTQ+ Community”), as well as
       their social and civil allies.

    4) “Plaintiff’s Pride Events have been exceptionally well-received by these communities and
       have gained significant recognition among the general public, comprising over seven
       hundred thousand (700,000) participants each year between its various Houston events.

    5) “Pride Houston holds several federal-protected trademarks, including “Pride Houston,”
       “Houston Pride Festival,” “Houston Pride Parade,” “Houston LGBT Pride Celebration,”
       and “Pride Houston Celebration” (collectively, the “Trademarks”). Pride Houston’s
       Trademarks are registered under goods and services related to promoting public awareness
       of the need for diversity and equal rights in a community comprising LGBTQ identifying
       people, as well as to commemorating and celebrating the history of the gay and lesbian
       communities.

    6) “Pride Houston enjoys tremendous success, widespread visibility, and significant goodwill
       throughout the United States, including the popularity and widespread recognition of
       Plaintiff’s brand and trade name by various media outlets and the numerous positive
       endorsements of Plaintiff’s Pride Events, and the public has come to recognize and trust
       Pride Houston’s brand and trade name.

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    7) “An organization called “The New Faces of Pride Houston” has been formed in Texas in
       an attempt to bankrupt and malign Pride Houston. The New Faces of Pride Houston are
       trying to bill themselves as the producers of the Houston Pride Parade and Houston Pride
       Festival, thus infringing upon Pride Houston’s Trademarks and impeding its ability to
       fundraise and continuing hosting Plaintiff’s Pride Events.

    8) “The New Faces of Pride Houston has a vendetta against our organization and has ties with
       a disgruntled vendor with which Pride Houston decided not to renew a contract with. Bryan
       Cotton, President of The New Faces of Pride Houston, as well as Lori Hood, its registered
       agent and legal representative, were suggested as Board Members for our organization
       through the disgruntled vendor, but due to obvious conflicts of interest, were not accepted.
       Bryan Cotton is the best friend of the disgruntled vendor. Lori Hood is the intimate partner
       of the disgruntled vendor.

    9) “Lori Hood is also the lawyer representing the disgruntled vendor in another lawsuit. Lori
       Hood has requested financials from Pride Houston as a "concerned citizen" on a fishing
       expedition even though she knows Pride Houston is represented by counsel. This fishing
       expedition to find impropriety where none exists was predictably futile. The financials of
       Pride Houston were shared pursuant to Texas law.

    10) “The New Faces of Pride Houston is trying to bill itself as the producer of the Houston
        Pride Parade and Houston Pride Festival, thus impeding on Pride Houston’s Trademarks
        and ability to fundraise in adequate time to once again host same. Several vendors and
        sponsors of Pride Houston have expressed concern and confusion between The New Faces
        of Pride Houston and Pride Houston, between which there is no connection nor
        relationship. This has inhibited Pride Houston’s ability to fundraise for its annual Houston
        Pride Celebration that has been produced and hosted by Pride Houston continuously for
        the past forty-six (46) years.

    11) “At least one (1) member of The New Faces of Pride Houston, Dustin Scheffield, is a
        defendant in a pending lawsuit that includes claims of misappropriation of the funds of
        Pride Houston.

    12) “Monte Bacchus, former Production Team Member for Pride Houston, left Pride Houston
        in 2020 in a sign of protest as Pride Houston filed suit against Dustin Scheffield, Jacob
        Siegel, and ex-Executive Director Lorin Roberts.

    13) “Donald James, the Treasurer of The New Faces of Pride Houston, was hired by the
        disgruntled vendor as an influencer for Pride Houston in 2022.

    14) “Jill Marie Maxwell, a former member of the Board of Pride Houston, was dismissed from
        said position in 2019 for failure to fulfill her fiduciary duty.

    15) “Andrea Simonton, the project lead for Pride Houston’s marketing efforts in 2022, who
        also worked for the disgruntled vendor, is also a member of The New Faces of Pride

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        Houston. Due to this connection, Pride Houston strongly suspects that unauthorized access
        to Pride Houston’s previous media and sponsor contacts have been wrongfully provided to
        The New Faces of Pride Houston.

    16) “The New Faces of Pride Houston have also used their contacts and friends in the media
        to plant stories and quotes that Pride Houston has never made. Pride Houston has been
        hard at work to have these articles corrected as they are discovered in order to maintain
        Pride Houston’s goodwill and reputation among its sponsors and vendors.

    17) “The New Faces of Pride Houston has made false statements to the public claiming it is
        partnering with organizations for the Houston Pride Parade and Festival to the point that
        other organizations have been forced to publish statements combating that narrative.

    18) “The disgruntled vendor, along with Lori Hood and Bryan Cotton, have made many
        inflammatory, and untrue, statements in the press about this organization.

    19) “It is apparent that The New Faces of Pride Houston are attempting to financially hurt Pride
        Houston as an attempt to supplant Pride Houston as the official Pride organization of
        Houston, pass off itself, and its executives, directors, and/or officers, as affiliated with
        Pride Houston, and infringe on Pride Houston’s Trademarks to facilitate same.

    20) “The New Faces of Pride Houston business name is problematic and deceitful, and the
        infringement upon Pride Houston’s Trademarks continue to cause confusion and financial
        harm to Pride Houston, which has been forced to request immediate relief from the courts.
        Further, Pride Houston has not licensed or granted any permission to any of Pride
        Houston’s Trademarks to The New Faces of Pride Houston.

    21) “Pride Houston has long-existed in the same region and market as other Pride festivals held
        within the City of Houston yet has still maintained to extensively build and establish its
        brand and trade name as a stand-out amongst same. While these other events, including,
        but are not limited to, Pride with Families, the Bigger, Better, Pride, etc., are technically
        competing events to Plaintiff’s Pride Events, Pride Houston has never experienced any
        conflict with same and is not generally opposed to such competing festivals. However,
        Pride Houston has also never experienced an organization seeking to unlawfully profit
        from Pride Houston’s forty-six (46) year legacy and harm Pride Houston’s long-earned
        goodwill as The New Faces of Houston Pride is now attempting to do.

    22) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 2
        is a true and correct copy of the Trademark Registration for “Pride Houston.”

    23) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 3
        is a true and correct copy of the Trademark Registration for “Houston Pride Festival.”



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    24) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 4
        is a true and correct copy of the Trademark Registration for “Houston Pride Parade.”

    25) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 5
        is a true and correct copy of the Trademark Registration for “Houston LGBT Pride
        Celebration.”

    26) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 6
        is a true and correct copy of the Trademark Registration for “Pride Houston Celebration.”

    27) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 7
        is a true and correct copy of the Articles of Incorporation for the Pride Committee of
        Houston, Inc. and the Articles of Amendment of Pride Committee of Houston, Inc.
        changing its business name to Pride Houston, Inc.

    28) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 8
        is a true and correct copy of the Certificate of Formation of a Nonprofit Corporation for
        The New Faces of Pride, Inc.

    29) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 9
        is a true and correct copy of the Certificate of Amendment of The New Faces of Pride, Inc.
        changing its business name to The New Faces of Pride Houston, Inc.

    30) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 10
        is a true and correct copy of social media and internet postings by The New Faces of Pride
        Houston using Pride Houston’s Trademarks.

    31) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 11
        is a true and correct copy of an OutSmart Magazine Article dated October 19, 2023, titled
        as “Will Houston Have Two Pride Celebrations?”

    32) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 12
        is a true and correct copy of a Houston Business Journal Article dated October 4, 2023,
        titled as “Exclusive: Houston’s newest LGBTIA+ nonprofit aims to celebrate Pride year-
        round.”

    33) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining

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        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 13
        is a true and correct copy of social media and internet postings made by The New Faces of
        Pride Houston using Pride Houston’s Trademarks related to Plaintiff’s Pride Events the
        “Houston Pride Festival” and the “Houston Pride Parade.”

    34) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 14
        is a true and correct copy of Pride Houston’s 2024 Official Houston Pride Celebration
        Registration, Information, and Parade Route Map.

    35) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 15
        is a true and correct copy of The New Faces of Pride Houston’s 2024 Pride Parade and
        Festival and Parade Route Map.

    36) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 16
        is a true and correct copy of a Houston Public Media Article dated October 23, 2023, titled
        “Houston’s Feuding Pride organizations planning two separate events for June 2024.”

    37) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 17
        is a true and correct copy of communications sent to Kendra Walker and Pride Houston
        showing confusion between Pride Houston and The New Faces of Pride Houston.

    38) “I declare under penalty of perjury that the foregoing is true and correct.


“Further, Declarant sayeth not.”



Executed on October 25, 2023.



                                                      Kendra Walker




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